               Case 5:16-cv-00408-XR Document 113 Filed 05/01/19 Page 1 of 1


AO 450 (Rev. 01/09) Judgment in a Civil Action



                                      UNITED STATES DISTRICT COURT                                            P/L
                                                                  forthe
                                                        Western District of Texas
                                                                                                                       01    201g

                          Alton Cram                                 )

                            Plaint((f                                )
                                V.                                   )      Civil Action No. 5:1
                      City of Selma et al                            )
                            Defendant                                )



                                                 JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one).

    the plaintiff (name)                                                                                    recover from the
defendant (name)                                                                                              the amount of
                                                                            dollars ($            ), which includes prejudgment
interest at the rate of                   %, plus postjudgment interest at the rate of           %, along with costs.
     the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                     recover costs from the plaintiff (name)


9!   other:    Defendants' motion for summary judgment (docket no. 107) is GRANTED and
               Plaintiff's claims are DISMISSED WITH PREJUDICE. The Clerk shall enter Judgment that
               Plaintiff take nothing by his claims, and that all claims are DISMISSED WITH PREJUDICE.


This action was (check one):

    tried by a jury with Judge                                                                      presiding, and the jury has
rendered a verdict.
J  tried by Judge                                                                        without a jury and the above decision
was reached.
1 decided by Judge          Xavier Rodriguez




Date:            05/01/2019                                                CLERK OF COURT


                                                                                                                         Amy Jackson
                                                                                             ture of Clerk or Deputy Clerk
